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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
                                                      :
In re:                                                :         Chapter 7
                                                      :         Case No. 08-12667 (AJG)
BOAZ BAGBAG,                                          :
                                                      :         JUDGMENT
                                    Debtor.           :
                                                      :          BC 10,0123
------------------------------------------------------x

        The Debtor Boaz Bagbag having entered into a Stipulation with Uzi Evron, Roni Abudi

and Doron Kessel dated May 26, 2010 and said Stipulation having been so-ordered on May 26,

2010, and

        Said Stipulation provided that a judgment be entered against the Debtor and in favor of the

aforesaid Creditors,

        Now, upon motion of Robert J. Gumenick, Esq., attorney for said creditors Uzi Evron,

Roni Abudi and Doron Kessel;

        IT IS HEREBY ORDERED, that UZI EVRON, residing at 21 Crampton Avenue, Great

Neck, New York 11023-1142, RONI ABUDI, residing at 249 East 48th Street, New York, New

York 10017-1520 and DORON KESSEL, residing at 10 Lawson Lane, Great Neck, New York

11023-1041 jointly and severally, recover from Debtor BOAZ BAGBAG, residing at 304 East

78th Street, 5F, New York, New York 10021 the amount of ONE HUNDRED SEVENTY

SEVENTY THREE THOUSAND FOUR HUNDRED FORTY EIGHT and 00/100 ($173,448.00)

DOLLARS, with prejudgment interest from January 1, 2008 at the rate of nine (9%) percent per

annum in the amount of THIRTY NINE THOUSAND SIXTY NINE and 76/100 ($39,069.76),

costs in the amount of FIVE THOUSAND AND 00/100 ($5,000.00) Dollars and attorneys fees in



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the amount of TWELVE THOUSAND AND 00/100 ($12,000.00) Dollars making a total of TWO

HUNDRED TWENTY NINE THOUSAND FIVE HUNDRED SEVENTEEN and 76/100

DOLLARS ($229,517.76) plus post-judgment interest as provided by law, AND THAT UZI

EVRON, RONI ABUDI AND DORON KESSEL have execution therefor.


Dated: May 26, 2010

                                       s/Arthur J. Gonzalez
                                       ARTHUR J. GONZALEZ
                                       CHIEF UNITED STATES BANKRUPTCY JUDGE




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